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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Ò±®¬¸»®²
 ____________________             Ì»¨¿-
                      District of _________________
                                        (State)
                                                           ïï
 Case number (If known): _________________________ Chapter _____                                                                      Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Î±½µ¿´´ Û²»®¹§ô ÔÔÝ
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used
                                              Òñß
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                è ___
                                              ___ í – ___
                                                       ð ___
                                                          é ___
                                                             ð ___
                                                                ê ___
                                                                   í ___
                                                                      ì ___
                                                                         ð
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                               ëððë Ô§²¼±² Þò Ö±¸²-±² Ú®»»©¿§
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              Í«·¬» éðð
                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              Ü¿´´¿-                       ÌÈ        éëîìì
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Ü¿´´¿-
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ¸¬¬°æññ©©©ò®±½µ¿´´»²»®¹§ò½±³ñ
                                              ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor        Î±½µ¿´´ Û²»®¹§ô ÔÔÝ
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor
                                          ìCorporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          ìNone of the above
                                          B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              î ___
                                             ___    ï ___
                                                 ï ___ ï

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
                                          ìChapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                          ìA plan is being filed with this petition.
                                                          ìAcceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                             Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor          Î±½µ¿´´ Û²»®¹§ô ÔÔÝ
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        ìNo
       filed by or against the debtor
       within the last 8 years?              Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases               No
       pending or being filed by a
       business partner or an             ìYes.            Í»» Î·¼»® ï
                                                    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          ìA bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
 12.   Does the debtor own or have        ìNo
       possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                       Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                       No
                                                       Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




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                                    Rider 1
Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor in
   the United State Bankruptcy Court for the Northern District of Texas
                        Rockall Energy Holdings, LLC
                          Arrow Rock Energy, LLC
                   Petro Harvester Operating Company, LLC
                          Rockall Agent Corporation
                             Rockall Energy, LLC
                              Rockall EOR, LLC
                      Rockall Exploration Company, LLC
                          Rockall Intermediate, Inc.
                               Rockall LA, LLC
                             Rockall Laurel, LLC
                           Rockall Midstream, LLC
                               Rockall MS, LLC
                               Rockall ND, LLC
                          Rockall Pine Prairie, LLC
                   White Marlin Investment Company, LLC
                         White Marlin Midstream, LLC




                                    Rider 1
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    Michael A. Garza (Texas Bar No. 24126797)                      David S. Meyer (pro hac vice pending)
    Matthew J. Pyeatt (Texas Bar No. 24086609)                     George R. Howard (pro hac vice pending)
    Trevor G. Spears (Texas Bar No. 24106681)                      Lauren R. Kanzer (pro hac vice pending)
    VINSON & ELKINS LLP                                            VINSON & ELKINS LLP
    2001 Ross Avenue, Suite 3900                                   1114 Avenue of the Americas, 32nd Floor
    Dallas, TX 75201                                               New York, NY 10036
    Tel: 214.220.7700                                              Tel: 212.237.0000
    Fax: 214.999.7787                                              Fax: 212.237.0100
    mgarza@velaw.com; mpyeatt@velaw.com;                           dmeyer@velaw.com; ghoward@velaw.com;
    tspears@velaw.com                                              lkanzer@velaw.com
    PROPOSED ATTORNEYS FOR THE DEBTORS
    AND DEBTORS IN POSSESSION


                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

     In re:                                                    §          Case No. 22-[ ] ( )
                                                               §
     ROCKALL ENERGY HOLDINGS, LLC,                             §          (Chapter 11)
     et al.,                                                   §
                                                               §          (Joint Administration Requested)
                                                               §          (Emergency Hearing Requested)
              Debtors.1                                        §

                                NOTICE OF DESIGNATION AS
                           COMPLEX CHAPTER 11 BANKRUPTCY CASE

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

          On the date hereof, the above-captioned debtors and debtors in possession (collectively,

       Debtors      each filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code

                        Chapter 11 Cases . The undersigned proposed counsel believes that these

Chapter 11 Cases qualify as complex chapter 11 cases because:




1
          The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification
          numbers are: Arrow Rock Energy, LLC (7549), Petro Harvester Operating Company, LLC (2136), Rockall
          Agent Corp. (1653), Rockall Energy Holdings, LLC (5784), Rockall Energy, LLC (6340), Rockall EOR,
          LLC (4136), Rockall Exploration Company, LLC (0547), Rockall Intermediate, Inc. (9759), Rockall LA,
          LLC (4270), Rockall Laurel, LLC (1178), Rockall Midstream, LLC (0917), Rockall MS, LLC (0740),
          Rockall ND, LLC (9311), Rockall Pine Prairie, LLC (5799), White Marlin Investment Company, LLC
          (9987), and White Marlin Midstream, LLC (1466). The location of t
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     X       The Debtors have total debt of more than $10 million;

     X       There are more than 50 parties in interest in these chapter 11 cases;

             Claims against the Debtors are publicly traded;

             Other: (Substantial explanation is required.).




Dated: March 9, 2022
Dallas, Texas                              /s/ Michael A. Garza
                                           VINSON & ELKINS LLP
                                           Michael A. Garza (Texas Bar No. 24126797)
                                           Matthew J. Pyeatt (Texas Bar No. 24086609)
                                           Trevor G. Spears (Texas Bar No. 24106681)
                                           2001 Ross Avenue, Suite 3900
                                           Dallas, TX 75201
                                           Tel: 214.220.7700
                                           Fax: 214.999.7787
                                           mgarza@velaw.com; mpyeatt@velaw.com;
                                           tspears@velaw.com

                                           - and -

                                           David S. Meyer (pro hac vice pending)
                                           George R. Howard (pro hac vice pending)
                                           Lauren R. Kanzer (pro hac vice pending)
                                           1114 Avenue of the Americas, 32nd Floor
                                           New York, NY 10036
                                           Tel: 212.237.0000
                                           Fax: 212.237.0100
                                           dmeyer@velaw.com; ghoward@velaw.com;
                                           lkanzer@velaw.com

                                           PROPOSED ATTORNEYS FOR THE
                                           DEBTORS AND DEBTORS IN POSSESSION
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      Fill in this information to identify the case:

                   Rockall Energy, LLC
      Debtor name __________________________________________________________________
                                              Northern
      United States Bankruptcy Court for the: ______________________             Texas
                                                                     District of _________
                                                                                         (State)
                                                                                                                                                          Check if this is an
      Case number (If known):   _________________________
                                                                                                                                                          amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                              12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and                 Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor                   (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                                     debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                        professional          unliquidated,   total claim amount and deduction for value of
                                                                                        services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                        government
                                                                                        contracts)
                                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                                              partially          value of            claim
                                                                                                                              secured            collateral or
                                                                                                                                                 setoff

1     WBI Energy Corrosion Services         ATTN: Mark Anderson
                                                                                                                Contingent                                           Undetermined
                                            1250 West Century Ave                             Contract
                                            Bismarck, ND 58503, US                                             Unliquidated
                                            TEL: 701-530-1623                                                    Disputed
                                            EMAIL: mark.anderson@WBIEnergy.com
                                            ATTN: Scott Southward / Adam Voss                                   Disputed
2     Steel Reef Burke, LLC                 333 7th Avenue SW, Suite 1200
                                                                                                   Trade                                                              $ 1,032,906
                                            Calgary, AB T2P 2Z1, CA
                                            TEL: 403-263-833
                                            EMAIL: scott.southward@steelreef.ca
                                            ATTN: Ron Davis
3     Baker Hughes Oilfield Operations,     2929 Allen Parkway, Suite 2100
                                                                                                   Trade                                                               $ 830,414
      LLC                                   Houston, TX 77019, US
                                            TEL: 713-439-8600
                                            EMAIL: Ron.Davis@bakerhughes.com
                                            ATTN: W. C. Schmitz
4     W. C. Schmitz                         P.O. Box 12019                                     Suspense                                                                $ 738,967
                                            Austin, TX 78711, US
                                            TEL:
                                            EMAIL:
                                            ATTN: Nigel E. Solida
5     Talco Petroleum, LLC                  1415 Louisiana St.                              Settlement          Contingent                                             $ 612,973
                                            Houston, TX 77002, US                           Agreement          Unliquidated
                                            TEL: 620-314-8780
                                            EMAIL: nes@talcopetro.com                                            Disputed
                                            ATTN: Mary Hayes
6     ExxonMobil Corporation                PO BOX 840791                                 Joint Interest                                                               $ 486,104
                                            Dallas, TX 75284, US
                                                                                         Billing / Royalty
                                            TEL: 817-885-3291
                                            EMAIL: Mary_Hayes@xtoenergy.Com

                                            ATTN: Daryl Peterson / Christine Peterson
7     Daryl G. Peterson and Christine       2610 100th Street NW
                                                                                            Litigation                                                                 $ 483,000
      Peterson                              Antler, ND 58711, US                            Settlement
                                            TEL: 701-756-6275
                                            EMAIL: christinepeterson68@gmail.com

                                            ATTN: Terry Smith
8     Halliburton Energy Service, Inc.                                                             Trade                                                               $ 341,962
                                            PO Box 42806
                                            Houston, TX 77072, US
                                            TEL: 972-418-3206
                                            EMAIL:




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                              page 1
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    Debtor
                  Rockall Energy, LLC
                 _______________________________________________________                                    Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and                Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor                  (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                                    debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                                      professional           unliquidated,   total claim amount and deduction for value of
                                                                                      services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                                      government
                                                                                      contracts)
                                                                                                                             Total claim, if    Deduction for       Unsecured
                                                                                                                             partially          value of            claim
                                                                                                                             secured            collateral or
                                                                                                                                                setoff
                                           ATTN: Audrey J Phillips
9     Verde Services, LLC                                                                   Trade                                                                    $ 341,740
                                           P.O. Box 144
                                           Laurel, MS 39441, US
                                           TEL: 601-425-9684
                                           EMAIL: audrey.phillips@verdeservices.net
                                           ATTN: Robert W Salsman Jr
      Robert W Salsman Jr                                                                  Suspense                                                                  $ 318,711
10                                         209 Londonderry Square
                                           Lafayette, LA 70508, US
                                           TEL:
                                           EMAIL:

                                           ATTN:
      V. A. Sauls Inc                                                                       Trade                                                                    $ 316,294
11                                         P.O. Box 299
                                           Heidleberg, MS 39439, US
                                           TEL: 601-787-4321
                                           EMAIL:

                                           ATTN:
12 International Oil & Gas                                                                                                                                           $ 307,520
                                           P.O. BOX 2165
      Corporation                          Spring, TX 77383, US
                                           TEL:
                                           EMAIL:

                                           ATTN: Scott Southward / Adam Voss
13    Steel Reef Pipelines Canada                                                           Trade              Disputed                                              $ 305,641
                                           333 7th Avenue SW, Suite 1200
      Corporation                          Calgary, AB T2P 2Z1, CA
                                           TEL: 403-263-833
                                           EMAIL: scott.southward@steelreef.ca

                                           ATTN: Allen Boettcher
14    Basin Service Company                                                                 Trade                                                                    $ 302,895
                                           P.O. Box 397
                                           Westhope, ND 58793, US
                                           TEL: 701-245-6479
                                           EMAIL: basinservice@srt.com
                                           ATTN: John Daniels
15    J-W Power Company                                                                     Trade                                                                    $ 280,809
                                           15505 Wright Brothers Drive
                                           Addison, TX 75001, US
                                           TEL: 972-233-8191
                                           EMAIL: contracts@jwenergy.com

                                           ATTN: Lillian Harmon
16    Lillian B Harmon                                                                     Suspense                                                                  $ 277,012
                                           , ,
                                           TEL:
                                           EMAIL:

                                           ATTN: Randi Jung
17    ND&T Services, Inc.                                                                   Trade                                                                    $ 260,452
                                           PO Box 756
                                           Mohall, ND 58761, US
                                           TEL: 701-263-5360
                                           EMAIL: rathole@art.com
                                           ATTN: Charles Abshire
18    Prosper Operators, Inc.                                                               Trade                                                                    $ 241,915
                                           P.O. Box 52134
                                           Lafayette, LA 70505, US
                                           TEL: 337-267-7440
                                           EMAIL: cabshire@prosperoperators.com

                                           ATTN: JPM Chase Bank, NA Co-Trustee
19    Frances W Pick Trust                                                                 Suspense                                                                   $ 222,803
                                           P.O. Box 99084
                                           Fort Worth, TX 76199, US
                                           TEL:
                                           EMAIL:

                                           ATTN:
20    Archrock Partners Operating, LLC                                                       Trade                                                                   $ 214,082
                                           9807 Katy Freeway, Suite 100
                                           Houston, TX 77024, US
                                           TEL: 281-836-8000
                                           EMAIL:




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                page 2
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

  In re:                                                    §         Case No. 22-
                                                            §
  ROCKALL ENERGY, LLC,                                      §         (Chapter 11)
                                                            §
           Debtor.                                          §         (Joint Administration Requested)
                                                            §

                              LIST OF EQUITY INTEREST HOLDERS

Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following identifies all know holders
having a direct or indirect ownership interest of the above captioned debtor in possession.

                   Equity Holder                    Address of Equity Holder             Percentage of
                                                                                         Equity Held
        Rockall Energy Holdings, LLC           5005 LBJ Freeway, Suite 700, Dallas,           100%
                                                           TX 75244
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

  In re:                                                   §         Case No. 22-
                                                           §
  ROCKALL ENERGY, LLC,                                     §         (Chapter 11)
                                                           §
           Debtor.                                         §         (Joint Administration Requested)
                                                           §

       CORPORATE OWNERSHIP STATEMENT (RULES 1007(A)(1) AND 7007.1)

Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1, the following is a (are) corporation(s),
other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the
corporation s equity interests:

                  Equity Holder                    Address of Equity Holder             Percentage of
                                                                                        Equity Held
        Rockall Energy Holdings, LLC          5005 LBJ Freeway, Suite 700, Dallas,          100%
                                                          TX 75244
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                              JOINT RESOLUTIONS OF
                            THE BOARD OF DIRECTORS OF
                          ROCKALL ENERGY HOLDINGS, LLC,
                              ROCKALL AGENT CORP.
                                       AND
                           ROCKALL INTERMEDIATE, INC.


                                          March 8, 2022

       WHEREAS, Rockall Energy Holdings, LLC, a Delaware limited liability company
(“Rockall” or the “Company”), and its legal and financial advisors have been engaged in
discussions with the administrative agent and lenders party to that certain Credit and Guaranty
Agreement, dated as of September 20, 2018 (as amended prior to the date hereof, the “Credit
Agreement”), by and among Rockall Energy, LLC, a Delaware limited liability company
(“Rockall Energy”), as borrower, the Company, as holdings, the other guarantors party thereto,
the lenders party thereto, and Goldman Sachs Bank USA (“Goldman”), as administrative agent
and collateral agent, regarding a possible sale of the Company and/or restructuring of the
indebtedness of the Company Group (as defined below) under the Credit Agreement;

         WHEREAS, (i) the Board of Managers (“Company Board”) of the Company, in its
individual capacity and in its capacity as the sole member of Rockall Energy, a Delaware limited
liability company, in its individual capacity and in its capacity as (a) the sole member or managing
member (as applicable) of each of (1) Rockall Laurel, LLC, a Delaware limited liability company
(“Rockall Laurel”), (2) Rockall LA, LLC, a Delaware limited liability company (“Rockall LA”),
in its individual capacity and in its capacity as the sole member of Rockall Pine Prairie, LLC, a
Delaware limited liability company (“Rockall Pine Prairie”), (3) Rockall ND, LLC, a Delaware
limited liability company (“Rockall ND”), (4) Rockall EOR, LLC, a Delaware limited liability
company (“Rockall EOR”), (5) Rockall MS, LLC, a Delaware limited liability company (“Rockall
MS”), (6) Rockall Midstream, LLC, a Delaware limited liability company (“Rockall Midstream”),
(7) Rockall Exploration Company, LLC, a Delaware limited liability company (“Rockall
Exploration”), (8) Arrow Rock Energy, LLC, a Texas limited liability company (“Arrow Rock
Energy”), (9) White Marlin Midstream, LLC, a Delaware limited liability company (“White
Marlin Midstream”), (10) White Marlin Investment Company, LLC, a Delaware limited liability
company (“White Marlin Investment Company”), and (11) Petro Harvester Operating Company,
LLC, a Delaware limited liability company (“Petro Harvester Operating Company”)
(collectively, the “Applicable Capacities”), (ii) the Board of Directors (“Rockall Agent Corp.
Board”) of Rockall Agent Corp. and (iii) the Board of Directors (“Rockall Intermediate Board”,
and together with the Company Board and the Rockall Agent Corp. Board, collectively the
“Boards” and each a “Board”) of Rockall Intermediate each desire to adopt the resolutions
hereinafter set forth as the action of (A) the Company Board, in all Applicable Capacities, (B) the
Rockall Agent Corp. Board, for Rockall Agent Corp. and (C) the Rockall Intermediate Board, for
Rockall Intermediate;

       WHEREAS, each Board has studied and considered the financial condition of the
Company, Rockall Energy, Rockall Laurel, Rockall LA, Rockall Pine Prairie, Rockall ND,
Rockall EOR, Rockall MS, Rockall Midstream, Rockall Exploration, Arrow Rock Energy, White
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Marlin Midstream, White Marlin Investment Company, Rockall Agent Corp., Rockall
Intermediate and Petro Harvester Operating Company (collectively, the “Company Group”),
including the Company Group’s liabilities and liquidity, the short-term and long-term prospects
available to the Company Group, the strategic alternatives available to the Company Group and
the related circumstances and situation;

       WHEREAS, each Board has consulted with the Company Group’s financial and legal
advisors and considered a variety of strategic alternatives available to the Company Group;

        WHEREAS, each Board has determined that it is advisable and in the best interests of the
Company Group to (i) pursue a prepackaged chapter 11 plan (the “Plan”) under Chapter 11 of
Title 11 of the United States Code (the “Bankruptcy Code”) in accordance with that certain
Restructuring Support Agreement to be entered into by the Company, the subsidiaries thereto (the
“Filing Subsidiaries” and together with the Company, the “Debtors” and each a “Debtor”),
Goldman, BTC Holdings Fund I LLC, BTC Holdings SC Fund LLC, and Shell Trading Risk
Management, LLC (collectively, the “Secured Parties,” and such agreement the “Restructuring
Support Agreement”), and (ii) execute, deliver, and file or cause to be filed with the United States
Bankruptcy Court for the Northern District of Texas, Fort Worth Division, or another appropriate
court (the “U.S. Bankruptcy Court”), any and all documents necessary or convenient to effect,
cause or promote the restructuring of the Debtors under the Bankruptcy Code pursuant to the Plan
and in accordance with the Restructuring Support Agreement;

        WHEREAS, each Board has reviewed the Plan and the Restructuring Support Agreement
to be entered into among the Debtors and the Secured Parties, pursuant to which, among other
things, the Debtors will market for sale all of the Debtors’ assets and will consider bids for all,
substantially all, or any of the Debtors’ assets to a successful bidder, or will, in the alternative
implement a transaction pursuant to the equitization provisions of the Plan whereby each Secured
Party will receive its pro rata share of the equity interests in a reorganized Company entity (the
“Reorganized Company”) in exchange for such Secured Party’s claims. In any event, a liquidation
trust will be established for the orderly winddown of any assets that are not subject to an asset sale
or part of the Secured Parties equitization;

        WHEREAS, the Debtors will obtain benefits from the use of collateral, including cash
collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash Collateral”),
which is security for the claims held by the Secured Parties;

        WHEREAS, certain of the Secured Parties have agreed to provide post-petition financing
to Rockall Energy under a debtor-in-possession credit agreement (the “DIP Facility”), on the
terms and subject to the conditions set forth in a Senior Secured Super Priority Debtor-in-
Possession Credit Agreement (the “DIP Credit Agreement”), to be entered into by Rockall Energy,
as borrower, the Company and each of the Filing Subsidiaries, as guarantors, the lenders from time
to time party thereto (collectively, the “DIP Lenders”) and Goldman, as administrative agent (in
such capacity, the “Administrative Agent”) and collateral agent (in such capacity, the “Collateral
Agent”), and at the election of the DIP Lenders, all or a portion of the DIP Facility Claims may be
converted into interests in, or borrowings under any new exit credit facility with, the Reorganized
Company (the “Exit Facility”);
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        WHEREAS, the governing body of each of the Filing Subsidiaries desires for the Filing
Subsidiaries to, concurrently with the Company, file or cause to be filed voluntary petitions for
relief pursuant to the Bankruptcy Code with the U.S. Bankruptcy Court and are approving such
filings contemporaneously with the adoption of these resolutions;

        WHEREAS, after review of (i) the financial condition of the Company Group, the short-
term and long-term prospects available to the Company Group, the strategic alternatives available
to the Company Group, and the related circumstances and situation, (ii) the terms of the
Restructuring Support Agreement, the Plan, and related documentation, (iii) the availability of the
DIP Facility and consensual use of the Cash Collateral and (iv) such other considerations as the
Boards deem relevant, the Boards, following consultation with the financial and legal advisors to
the Company Group, have determined that it is advisable and in the best interests of the Debtors
to enter into the Restructuring Support Agreement and pursue the restructuring of the Debtors
under the Bankruptcy Code as contemplated therein and as approved in these resolutions;

       WHEREAS, in accordance with the Restructuring Support Agreement, the Debtors have
prepared a solicitation package consisting of a Disclosure Statement for the Plan (including all
schedules and exhibits thereto, the “Disclosure Statement”), and related ballots, notices, and other
materials (collectively, the “Solicitation Package”) to be distributed to the holders of certain
claims against the Debtors in connection with soliciting their votes to accept or reject the Plan in
accordance with section 1125 of the Bankruptcy Code and any applicable non-bankruptcy laws
and within the meaning of section 1126 of the Bankruptcy Code (the “Solicitation”); and

       WHEREAS, the Board has reviewed the Plan and the Disclosure Statement (collectively,
the “Chapter 11 Documents”), substantially in the form previously distributed to the Board, and
deems it advisable and in the best interests of the Company to commence the Solicitation.

Restructuring Support Agreement

        NOW, THEREFORE, BE IT RESOLVED, that the applicable Board hereby authorizes
and approves, in all respects, the entry of the Company and the Filing Subsidiaries, as applicable,
into the Restructuring Support Agreement, together with any other agreements or documentation
relating thereto (collectively, the “Restructuring Support Documents”), and the performance of
their respective obligations thereunder;

        FURTHER RESOLVED, that the Chief Executive Officer of the Company, Chief
Financial Officer of the Company, the Chief Restructuring Officer of the Company, and any other
officer of the applicable member of the Company Group (each, an “Authorized Officer,” and
collectively, the “Authorized Officers”), acting alone or with one or more other Authorized
Officers, are hereby authorized and empowered to take such actions and negotiate or cause to be
prepared and negotiated and to execute, file, and deliver the Restructuring Support Documents,
with such changes, additions, and modifications thereto as the Authorized Officers executing the
same shall approve, such approval to be conclusively evidenced by such Authorized Officer’s
execution or delivery thereof, cause the Company and each Filing Subsidiary to perform its
obligations under the Restructuring Support Documents, or any amendments or modifications
thereto that may be contemplated by, or required in connection with, the Chapter 11 case, and incur
and pay or cause to be paid all fees and expenses and engage such persons, in each case, as any
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such Authorized Officer shall in his or her judgment determine to be necessary or appropriate to
consummate the Restructuring Transactions, which determination shall be conclusively evidenced
by such Authorized Officer’s execution or delivery thereof;

Solicitation

       FURTHER RESOLVED, that the Chapter 11 Documents, substantially in the form
presented to the Board on or about the date hereof and as such may be further amended with the
approval of an Authorized Officer, and the Solicitation, are hereby approved;

       FURTHER RESOLVED, that each of the Authorized Officers is authorized and
empowered to do and perform all such acts and things necessary to carry out the Solicitation,
including the distribution of the Solicitation Package, in each case as contemplated by and in
accordance with the terms of the Restructuring Support Agreement and any applicable law;

Chapter 11 Filing

        FURTHER RESOLVED, that the applicable Board hereby determines that it is advisable
and in the best interests of the Company and each Filing Subsidiary, as applicable, to file voluntary
petitions for relief pursuant to Chapter 11 of the Bankruptcy Code with the U.S. Bankruptcy Court
(the “Petitions”), consistent with the resolutions set forth herein;

       FURTHER RESOLVED, that the Company and the Filing Subsidiaries are hereby
authorized to file or cause to be filed the Petitions with the U.S. Bankruptcy Court;

       FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers, are hereby authorized and empowered to execute, deliver, and file or
cause to be filed with the U.S. Bankruptcy Court on behalf of the Company and each Filing
Subsidiary, as applicable, the Petitions, in such form as prescribed by the Official Forms
promulgated pursuant to the Bankruptcy Code;

         FURTHER RESOLVED, that, upon the filing of the Petition as authorized by the
preceding resolution, each Authorized Officer, acting alone or with one or more other Authorized
Officers is hereby authorized and empowered to execute, deliver, and file or cause to be filed with
the U.S. Bankruptcy Court, on behalf of the Company and Filing Subsidiary, as applicable, all
papers, motions, applications, schedules, and pleadings necessary, appropriate, or convenient to
facilitate the Chapter 11 case pursuant to the Bankruptcy Code (the “Chapter 11 Case”) and all of
its matters and proceedings, and any and all other documents necessary, appropriate, or convenient
in connection with the commencement or prosecution of the Chapter 11 Case, each in such form
or forms as the Authorized Officer may approve;

       FURTHER RESOLVED, that the Authorized Officers are authorized and empowered to
execute, deliver and file or cause to be filed with the U.S. Bankruptcy Court, on behalf of the
Company and each Filing Subsidiary, as applicable, all papers and pleadings that such Authorized
Officers believe to be necessary or desirable to effect, cause or further the restructuring of the
Company and each Filing Subsidiary, as applicable, under Chapter 11 the Bankruptcy Code and
any and all other documents necessary to effectuate the Plan, including and a disclosure statement
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related thereto, together with any amendments or modifications thereto, or any restatements
thereof, in each case, as the Authorized Officers may approve;

Debtor-in-Possession Financing; Cash Collateral; Adequate Protection

        FURTHER RESOLVED, that the applicable Board hereby authorizes and approves, in
all respects, the entry of the Company and each Filing Subsidiary, as applicable, into the DIP
Credit Agreement, together with any other agreements or documentation relating thereto
(collectively, the “DIP Loan Documents”), and the performance of its obligations thereunder;

       FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers, are hereby authorized and empowered to take such actions and
negotiate or cause to be prepared and negotiated and to execute, file, and deliver the DIP Loan
Documents, with such changes, additions, and modifications thereto as the Authorized Officers
executing the same shall approve, such approval to be conclusively evidenced by such Authorized
Officer’s execution or delivery thereof, cause, as applicable, the Company and each Filing
Subsidiary to perform its obligations under the DIP Loan Documents, or any amendments or
modifications thereto that may be contemplated by, or required in connection with, the
Restructuring Transactions or the Chapter 11 Case, and incur and pay or cause to be paid all fees
and expenses and engage such persons, in each case, as any such Authorized Officer shall in his
or her judgment determine to be necessary or appropriate to consummate the Restructuring
Transactions, which determination shall be conclusively evidenced by such Authorized Officer’s
execution or delivery thereof;

         FURTHER RESOLVED, that the Company and the Filing Subsidiaries shall be, and
hereby are, authorized to: (i) undertake any and all transactions contemplated by the DIP Loan
Documents, on substantially the terms and subject to the conditions set forth in the DIP Loan
Documents or as may hereafter be fixed or authorized by the applicable Board or any of the
applicable Authorized Officers, acting alone or with one or more other Authorized Officers;
(ii) borrow funds from, provide guaranties to, pledge its assets as collateral to and undertake any
and all related transactions contemplated thereby (collectively, the “Financing Transactions”)
with the DIP Lenders and on such terms as may be approved by any one or more of the Authorized
Officers, as necessary or appropriate for the continuing conduct of the affairs of the Company and
each Filing Subsidiary; (iii) execute and deliver and cause the Company and each Filing Subsidiary
to incur and perform its obligations under the DIP Loan Documents and Financing Transactions;
(iv) finalize the DIP Loan Documents and Financing Transactions, consistent in all material
respects with the drafts thereof that have been presented to and reviewed by the Boards; and (v) pay
related fees and grant security interests in and liens upon some, any or all of the assets of the
Company and each Filing Subsidiary, as may be deemed necessary by any one or more of the
Authorized Officers in connection with such Financing Transactions;

        FURTHER RESOLVED, that each of the Authorized Officers, acting alone or with one
or more other Authorized Officers be, and they hereby are, authorized and empowered in the name
of, and on behalf of, the Company and each Filing Subsidiary, as applicable, as a debtor and debtor
in possession, to take such actions and negotiate or cause to be prepared and negotiated and to
execute, file, deliver and cause the Company and each Filing Subsidiary, as applicable, to incur
and perform its obligations under the DIP Loan Documents, any secured cash management
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agreements, and all other agreements, instruments and documents (including, without limitation,
any and all other joinders, mortgages, deeds of trust, consents, notes, pledge agreements, security
agreements, control agreements and any agreements with any entity (including governmental
authorities) requiring or receiving cash collateral or other credit support with proceeds from the
DIP Credit Agreement) or any amendments thereto or waivers thereunder (including, without
limitation, any amendments, waivers or other modifications of any of the DIP Loan Documents)
that may be contemplated by, or required in connection with, the DIP Credit Agreement, the other
DIP Loan Documents and the Financing Transactions, and incur and pay or cause to be paid all
fees and expenses and engage such persons, in each case, as such Authorized Officer shall in his
or her judgment determine to be necessary or appropriate to consummate the transactions
contemplated by the DIP Credit Agreement and the other DIP Loan Documents, which
determination shall be conclusively evidenced by such Authorized Officer’s execution or delivery
thereof;

        FURTHER RESOLVED, that each of the Authorized Officers be, and each of them
hereby is, authorized and empowered to authorize the DIP Lenders or the Collateral Agent (or its
designee), on behalf of the DIP Lenders, to file any Uniform Commercial Code (“UCC”) financing
statements, mortgages, notices, and any necessary assignments for security or other documents in
the name of the Company that the DIP Lenders deem necessary or appropriate to perfect any lien
or security interest granted under the DIP Loan Documents, including any such UCC financing
statement containing a generic description of collateral, such as “all assets,” “all property now or
hereafter acquired” and other similar descriptions of like import, and to execute and deliver, and
to record or authorize the recording of, such mortgages and deeds of trust in respect of real property
of the Company and each Filing Subsidiary and such other filings in respect of intellectual and
other property of the Company and each Filing Subsidiary, in each case as the DIP Lenders may
reasonably request to perfect the security interests granted under the DIP Loan Documents;

        FURTHER RESOLVED, that each of the Authorized Officers be, and hereby are,
authorized and empowered, in consultation with the applicable Board, to execute and deliver any
amendments, supplements, modifications, renewals, replacements, consolidations, substitutions
and extensions of the DIP Credit Agreement or any of the other DIP Loan Documents or any of
the other DIP financing documents, and to execute and file on behalf of the Company and each
Filing Subsidiary, as applicable, all petitions, schedules, lists and other motions, papers or
documents, which shall in his or her sole judgment be necessary, proper or advisable, which
determination shall be conclusively evidenced by such Authorized Officer’s execution or delivery
thereof;

        FURTHER RESOLVED, that the Company and each Filing Subsidiary will obtain
benefits from the incurrence of the loans and other financial accommodations under the DIP Credit
Agreement by the Company and each Filing Subsidiary and the occurrence and consummation of
the Financing Transactions under the DIP Credit Agreement and the other DIP Loan Documents,
which are necessary and appropriate to the conduct, promotion and attainment of the business of
the Company and each Filing Subsidiary;

        FURTHER RESOLVED, that in order to use and obtain the benefits of the Cash
Collateral, and in accordance with section 363 of the Bankruptcy Code, the Company and each
Filing Subsidiary is authorized to provide certain adequate protection to the Secured Parties (the
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“Adequate Protection Obligations”), as documented in a proposed interim order (any such order,
the “Interim DIP Order”) and a proposed final order (any such order, the “Final DIP Order,” and
together with the Interim DIP Order, the “DIP Orders”) described to the Boards and submitted for
approval to the U.S. Bankruptcy Court;

        FURTHER RESOLVED, that the form, terms, and provisions of the DIP Orders to which
the Company and each Filing Subsidiary is or will be subject, and the actions and transactions
contemplated thereby be, and hereby are authorized, adopted, and approved, and each of the
Authorized Officers be, and hereby is, authorized and empowered, in the name of and on behalf
of the Company and each Filing Subsidiary, as applicable, to take such actions and negotiate, or
cause to be prepared and negotiated, and to execute, deliver, perform, and cause the performance
of, the DIP Orders and the DIP Loan Documents (together with the DIP Orders, collectively, the
“DIP Documents”), and incur and pay or cause to be paid all fees and expenses and engage such
persons, in each case, on substantially the terms and subject to the conditions described to the
Boards, with such changes, additions, and modifications thereto as the Authorized Officers
executing the same shall approve, such approval to be conclusively evidenced by such Authorized
Officer’s execution or delivery thereof;

       FURTHER RESOLVED, that the Company and each Filing Subsidiary, as a debtor and
debtor in possession under the Bankruptcy Code be, and hereby is, authorized to incur the
Adequate Protection Obligations and to undertake any and all related transactions on substantially
the same terms as contemplated under the DIP Documents (collectively, the “Adequate Protection
Transactions”);

        FURTHER RESOLVED, that the Authorized Officers be, and they hereby are, authorized
and empowered, and each of them acting alone be, and hereby is, authorized and empowered in
the name of, and on behalf of, the Company and each Filing Subsidiary, as applicable, to take such
actions as in their discretion is determined to be necessary, appropriate, or advisable and execute
the Adequate Protection Transactions, including delivery of: (i) the DIP Documents and such
agreements, certificates, instruments, guaranties, notices, and any and all other documents,
including, without limitation, any amendments to any DIP Documents (collectively, the “Adequate
Protection Documents”); (ii) such other instruments, certificates, notices, assignments, and
documents as may be reasonably requested by the Secured Parties; and (iii) such forms of deposit,
account control agreements, officer’s certificates, and compliance certificates as may be required
by the DIP Documents or any other Adequate Protection Documents;

        FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and empowered in the name of, and on behalf of, the Company and each Filing
Subsidiary, as applicable, to take all such further actions, including, without limitation, to pay or
approve the payment of all fees and expenses payable in connection with the Adequate Protection
Transactions and all fees and expenses incurred by or on behalf of the Company and each Filing
Subsidiary, as applicable, in connection with these resolutions, in accordance with the terms of the
Adequate Protection Documents, which shall in their sole judgment be necessary, appropriate, or
advisable to perform any obligations of the Company and any Filing Subsidiary under or in
connection with the DIP Orders or any of the other Adequate Protection Documents and the
transactions contemplated thereby and to carry out fully the intent of these resolutions;
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Retention of Professionals

        FURTHER RESOLVED, that the Board hereby approves the Company’s engagement of
Vinson & Elkins L.L.P. (“V&E”) as bankruptcy counsel to represent and assist the Company in
carrying out its duties under the Bankruptcy Code in the U.S. Bankruptcy Court, and to take any
and all actions to advance the Company’s rights and obligations, including filings and pleadings,
and each Authorized Officer is hereby authorized and empowered to take such actions as may be
required to so engage V&E for such purposes; and in connection therewith, each Authorized
Officer, with power of delegation, is hereby authorized and empowered to execute appropriate
retention agreements, pay appropriate retainers to, and cause to be filed an appropriate application
for authority to retain the services of V&E;

        FURTHER RESOLVED, that the Board hereby approves the Company’s engagement of
Lazard Frères & Co., LLC (“Lazard”) as investment banker to represent and assist the Company
in carrying out its duties under the Bankruptcy Code in the U.S. Bankruptcy Court, and to take any
and all actions to advance the Company’s rights and obligations, and each Authorized Officer is
hereby authorized and empowered to take such actions as may be required to so engage Lazard for
such purposes; and in connection therewith, each Authorized Officer, with power of delegation, is
hereby authorized and empowered to execute appropriate retention agreements, pay appropriate
retainers to, and cause to be filed an appropriate application for authority to retain the services of
Lazard;

        FURTHER RESOLVED, that the Board hereby approves the Company’s engagement of
Ankura Consulting Group, LLC (“Ankura”) to provide the Company with a Chief Restructuring
Officer and certain additional personal and designate as Chief Restructuring Officer along with
certain additional personnel as restructuring advisor to represent and assist the Company in
carrying out its duties under the Bankruptcy Code in the U.S. Bankruptcy Court, and to take any
and all actions to advance the Company’s rights and obligations, and each Authorized Officer
(other than Scott Pinsonnault) is hereby authorized and empowered to take such actions as may be
required to so engage Ankura for such purposes; and in connection therewith, each Authorized
Officer, with power of delegation, is hereby authorized and empowered to execute appropriate
retention agreements, pay appropriate retainers to, and cause to be filed an appropriate application
for authority to retain the services of Ankura;

        FURTHER RESOLVED, that the Board hereby approves the Company’s engagement of
Stretto, Inc. (“Stretto”) as notice, claims and solicitation agent to represent and assist the Company
in carrying out its duties under the Bankruptcy Code in the U.S. Bankruptcy Court, and to take any
and all actions to advance the Company’s rights and obligations, is hereby approved, and each
Authorized Officer is hereby authorized and empowered to take such actions as may be required
to so engage Stretto for such purposes; and in connection therewith, each Authorized Officer, with
power of delegation, is hereby authorized and empowered to execute appropriate retention
agreements, pay appropriate retainers to, and cause to be filed an appropriate application for
authority to retain the services of Stretto;

        FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to employ any other professionals to assist the Company in carrying out its
duties under the Bankruptcy Code; and in connection therewith, each Authorized Officer, with
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power of delegation, is hereby authorized and empowered to execute appropriate retention
agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
for authority to retain the services of any other professionals as necessary;

General

         FURTHER RESOLVED, that each of the Authorized Officers is hereby authorized and
empowered, on behalf of the Company and each Filing Subsidiary, as applicable, to certify and
attest to any documents that he or she may deem necessary, appropriate, or convenient to
consummate any transactions necessary to effectuate the foregoing resolutions; provided, such
attestation shall not be required for the validity of any such documents; and

       FURTHER RESOLVED, that all actions heretofore taken by any officer, employee or
representative of the Company or any Filing Subsidiary in its name or for its account in connection
with any of the above matters are hereby in all respects ratified, confirmed and approved.

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      Rockall Energy, LLC
